       Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 1 of 35



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO

PLANT OIL POWERED DIESEL FUEL
SYSTEMS, INC.,

                       Plaintiff,
                                                  SECOND AMENDED COMPLAINT
               v.
                                                  JURY TRIAL DEMANDED
EXXONMOBIL CORPORATION;
CONOCOPHILLIPS; and ASTM                          CASE NO.: 1:11-cv-00103-JB-LFG
INTERNATIONAL, f/k/a AMERICAN
SOCIETY FOR TESTING AND                           JUDGE: Hon. James O. Browning
MATERIALS,

                       Defendants.




       Plaintiff Plant Oil Powered Diesel Fuel Systems, Inc. (“POP Diesel™”), a manufacturer

and seller of triglyceride diesel fuel (fuel consisting of vegetable oil and animal fat) and related

equipment, brings this action under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15, 26,

and 28 U.S.C. §§ 1331, 1337, to redress violations of Section 1 of the Sherman Antitrust Act, 15

U.S.C. § 1; New Mexico Statutes Annotated Sections 57-1-1; and New Mexico common law, in

order to obtain damages and to enjoin defendants above named from agreeing, combining, and

conspiring to bring about the adoption of an industry standard and Guides for triglyceride diesel

fuel, the purpose and effect of which will be to exclude POP Diesel™ from diesel fuel markets in

the United States. For its second amended complaint, POP Diesel™ demands trial by jury of all

issues properly triable thereby, and complains and alleges as follows:




                                                  1
         Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 2 of 35



                                       NATURE OF ACTION

       1.      By means of the conduct described hereinafter, defendants above named and other

co-conspirators have agreed, combined, and conspired to cause defendant ASTM International to

adopt a standard and Guides for triglyceride diesel fuel (fuel consisting of vegetable oil and animal

fat and alternately referred to as “vegetable oil diesel fuel”) that will exclude POP Diesel™ from

diesel fuel markets in the United States, and have undertaken a group boycott and concerted

refusal to deal to exclude POP Diesel™ from diesel fuel markets in the United States, in violation

of Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1. Defendants’ actions further violate New

Mexico Statutes Annotated §§ 57-1-1 and 57-1-2 and the common law of the State of New

Mexico. POP Diesel™ is threatened with loss or damage by the triglyceride diesel fuel standard

and Fit-for-Purpose Guides drafted and proposed for adoption by defendants, and, accordingly, it

brings this action for preliminary and permanent injunctive relief, such damages as it shows itself

to have sustained, trebled, and its cost of suit, including a reasonable attorney’s fee, pursuant to

Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15, 26; and New Mexico Statutes Annotated

§§ 57-1-1 and 57-1-2, as well as for relief under common law.

                                           JURISDICTION

       2.      This action is brought pursuant to Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§§ 15, 26, for redress from violations of Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1, as

well as under New Mexico Statutes Annotated §§ 57-1-1. This Court has subject matter

jurisdiction of the federal antitrust claims asserted in this action pursuant to 15 U.S.C. §§15 and 26

and 28 U.S.C. §§ 1331 and 1337. This Court has subject matter jurisdiction of the state law claims

asserted in this action, pursuant to 28 U.S.C. §§ 1332 and 1367, in that the plaintiff and the

defendants are citizens of different states and the matter in controversy exceeds the value of




                                                    2
         Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 3 of 35



$75,000, exclusive of interest and costs, and the state law claims form part of the same case or

controversy with the federal antitrust claims.

                                            THE PARTIES

        3.      POP Diesel™ is a New Mexico corporation, with its principal place of business

located within Bernalillo County, New Mexico.

        4.      POP Diesel™ develops, manufactures, and sells triglyceride diesel fuel and related

equipment that permits and manages the use of triglyceride diesel fuel in residential, commercial

and industrial burners and in compression ignition (diesel) engines. POP Diesel™ also owns and

operates a state-licensed triglyceride diesel fuel processing and filling station in New Mexico,

which it opened as the first such station in the entire United States, in 2006.

        5.      The cities of Albuquerque, Las Cruces, and Santa Fe and the Town of Taos have all

pledged to assist POP Diesel™ in establishing the first state-wide network of triglyceride fuel

filling stations in the country.

        6.      POP Diesel™’s feedstock for making triglyceride diesel fuel at this time consists

primarily of waste vegetable oils and greases obtained from restaurants and industrial and

agricultural operations, of which there is a virtually unlimited supply.

        7.      Defendant ExxonMobil Corporation (“ExxonMobil”), the world’s largest publicly

traded international oil and gas company, is a New Jersey corporation with its principal place of

business located at 5959 Las Colinas Boulevard, Irving, Texas. ExxonMobil is directly or

indirectly a manufacturer and seller of petroleum-based diesel fuel, which, as described more fully

hereafter, is different from and inferior to triglyceride diesel fuel for use in residential, commercial

and industrial burners and in compression ignition (diesel) engines.




                                                    3
         Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 4 of 35



       8.      ExxonMobil is a member of defendant ASTM International, f/k/a American Society

for Testing and Materials (“ASTM”), as well as a voting member of ASTM’s Committee D02,

Subcommittee P on Recycled Petroleum Products, and has participated in the unlawful activities

set forth hereafter as a member of ASTM.

       9.      ConocoPhillips, the third-largest integrated energy company in the United States,

based on market capitalization, oil and natural gas reserves, is a Delaware corporation with its

principal place of business located at 600 North Dairy Ashford, Houston, TX 77079.

ConocoPhillips is directly or indirectly a manufacturer and seller of petroleum-based diesel fuel.

       10.     ConocoPhillips is a member of ASTM, as well as a member of ASTM’s Committee

D02, Subcommittee P on Recycled Petroleum Products and is one of the principal authors of the

Guides for triglyceride diesel fuel described hereafter, and has participated in the unlawful

activities set forth hereafter as a member of ASTM.

       11.     Defendants ExxonMobil and ConocoPhillips will be referred to collectively

hereinafter as “the Defendant Oil Companies.”

       12.     Defendant ASTM International, f/k/a American Society for Testing and Materials

(“ASTM”), is a Pennsylvania non-profit organization, with its principal place of business located

at 100 Bar Harbor Drive, West Conshohoken, Pennsylvania.

       13.     ASTM is one of the largest standards development and delivery systems in the

world. ASTM promulgates voluntary quality standards for many products in commerce, which

standards have been adopted by reference in federal and state law. For example, New Mexico

Statutes Annotated 57-19-29(A) (1978) provides, in pertinent part, that “[u]nless modified by

regulation of the board, the quality standards, tests and methods of conducting analyses on




                                                   4
         Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 5 of 35



petroleum products manufactured, kept, stored, sold or offered for sale in New Mexico shall be

those last adopted and published by the American society for testing and materials …”

       14.     ASTM has over 30,000 members and 141 technical standard writing committees.

Many, if not all, of ASTM’s officers, as well as the chairs and co-chairs of its committees,

subcommittees, and working groups are associated with the industries for which ASTM standards

are promulgated.

       15.     ASTM’s standard setting power is wide-ranging and extends to more than 100

industrial and management sectors, including petroleum, consumer products, construction

materials, environmental assessment, medical devices, and property management systems. Over

130 nations are represented in the membership of ASTM. More than 12,000 ASTM standards are

in use around the world, including, by way of example, Standard Specification for Fuel Oils

(D396) (burner fuel) and Standard Specification for Diesel Fuel Oils (D-975) (compression

ignition (diesel) engines). ASTM’s largest committee, titled D02, Petroleum Products and

Lubricants, has within its scope the charge of promulgating standard specifications, classifications,

test methods, and guides for liquid fuels in the diesel fuel industry.

                                        CO-CONSPIRATORS

       16.     In addition to the named defendants, a number of other persons and entities have

agreed, combined, and conspired with defendants with regard to the conduct described hereinafter.

To the extent these co-conspirators are known to POP Diesel™, they are described in this section

of the second amended complaint. In the event POP Diesel™ learns the identity of additional co-

conspirators, POP Diesel™ reserves the right to seek a further amendment of its complaint.

       17.     The co-conspirators described hereafter, as well as the Defendant Oil Companies,

all have an economic interest in the exclusion of triglyceride diesel fuel from the relevant markets




                                                    5
         Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 6 of 35



described hereafter, in that triglyceride diesel fuel may tend to displace competing products

manufactured, marketed, or promoted by the co-conspirators, including petroleum-based diesel

fuel, recycled engine oil, and so-called biodiesel, a blend of 95 percent petroleum-based diesel fuel

and 5 percent of a substance that starts out as triglycerides, but the molecules of which end up

being physically and chemically transformed into a different substance, as described hereafter.

Specifically, the co-conspirators are primarily affiliated with and representatives of petroleum

companies, including, but not limited to, the Defendant Oil Companies; corporate agricultural

interests that have invested heavily in biodiesel production facilities; companies that collect and

render waste triglycerides, which have also invested heavily in biodiesel production facilities;

sellers of petroleum fuel oil and recycled engine oil for use in burners; manufacturers and sellers

of biodiesel; and related interests that service petroleum and biodiesel producers.

       18.     The additional co-conspirators known at this time to POP Diesel™ include certain

members of the Triglyceride Burner Fuel Working Group and Subcommittee P of ASTM

Committee D02, which are described hereafter. These co-conspirators include the National

Biodiesel Board and Ralph F. Turner, Chair of the Triglyceride Burner Fuel Working Group,

acting on behalf of biodiesel interests. They also include Barbara Parry and Steve Spence of

Newalta, acting on behalf of interests connected with recycled engine oil for burners: Finally, they

include Marie F. Calhoon of Transmontaigne Inc., acting on behalf of interests connected with the

petroleum industry. Other members of the Triglyceride Burner Fuel Working Group and

Subcommittee P of ASTM Committee D02 acted in concert with the foregoing co-conspirators.

       19.     All of the co-conspirators listed in the foregoing paragraph participated in activities

of the Triglyceride Burner Fuel Working Group and Subcommittee P of ASTM Committee D02

to exclude POP Diesel™ from the relevant markets, as described more fully hereafter.




                                                   6
            Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 7 of 35



           20.   The acts charged in this Complaint have been done by defendants and their co-

conspirator, or were authorized, ordered, or done by their respective officers, agents, employees,

or representatives while actively engaged in the management of each defendant’s business or

affairs.

                                   NATURE OF TRADE AND COMMERCE

           21.   The relevant product and geographic markets for purposes of this action are the

diesel fuel market for residential, commercial and industrial burners in the United States, and the

diesel fuel market for compression ignition (diesel) engines in the United States (“the Relevant

Markets”).

           22.   A burner combusts fuel to heat a fluid for one of three purposes: (a) the fluid is part

of an industrial process, such as in the manufacture of asphalt or cement; (b) the fluid transfers

heat to the interior space of a building via a boiler and distribution pipes; or (c) the fluid stores

potential energy, as in a hot water tank.

           23.   The compression ignition engine, also referred to as a diesel engine, is named after

its inventor, Rudolf Diesel, who originally intended that it run on peanut oil, a form of vegetable

oil or triglyceride diesel fuel.

           24.   POP Diesel™ competes in the Relevant Markets against the Defendant Oil

Companies, as well as other producers and sellers of diesel fuel.

           25.   The Relevant Markets are in and part of interstate commerce, make extensive use of

the instrumentalities of interstate commerce, and substantially affect interstate commerce.

           26.   Vehicles that utilize diesel fuel and related equipment travel in a continuous and

uninterrupted flow of interstate commerce.




                                                     7
         Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 8 of 35



       27.     Materials used in the production of diesel fuel and related equipment are purchased

and shipped in a continuous and uninterrupted flow of interstate commerce.

       28.     Any restraint of trade in the Relevant Markets, including the restraints specifically

alleged in this complaint, directly and substantially restrain and affect interstate commerce.

                     CONDUCT GIVING RISE TO VIOLATIONS OF LAW

       29.     Diesel fuel is any fuel intended for use in a compression ignition (diesel) engine or

a residential, commercial or industrial burner. The most common type of diesel fuel currently in

use is petroleum-based diesel fuel, which derives primarily, i.e., approximately 95 percent or

more, from fossil hydrocarbons and is produced from (a) the fractional distillation (boiling) of

crude oil and (b) the residual material of such distillation.

       30.     ASTM’s Standard Specification for Fuel Oils (D396) (burner fuel) and Standard

Specification for Diesel Fuel Oils (D-975) (diesel engine fuel), adopted by its Committee D02,

Petroleum Products and Lubricants, set forth the physical and chemical properties of petroleum-

based diesel fuels that are commonly sold in the United States.

       31.     Until recently, petroleum-based diesel fuel meeting ASTM Standard Specifications

D396 and D975 have been almost exclusively the diesel fuel available in the Relevant Markets.

       32.     Triglyceride diesel fuel is an alternative to petroleum-based diesel fuel.

Triglyceride diesel fuel consists of naturally occurring vegetable oils and animal fats. If properly

managed, it can be an effective substitute for petroleum-based diesel fuel. Triglyceride diesel fuel

has substantial advantages over petroleum-based diesel fuel. In supplanting the use of petroleum,

triglyceride diesel fuel drastically reduces net greenhouse gas emissions. It does so by replacing

petroleum feedstock containing fossilized carbon with plant matter that, instead of adding

fossilized carbon to the atmosphere, extracts carbon from the atmosphere as it grows from the




                                                    8
         Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 9 of 35



Earth. Triglyceride diesel fuel may derive from recycling previously used substances. It is

potentially plentiful and readily available within the borders of the United States in virtually

unlimited supply. Because triglyceride diesel fuel is not a hazardous substance, it is far safer and

less costly to manufacture, handle, transport, store, and dispense than petroleum-based diesel fuel.

POP Diesel™’s burner equipment permits a burner to operate on any blend of triglyceride and

petroleum-based diesel fuels from zero to 100 percent of either fuel. POP Diesel™’s diesel engine

equipment permits a diesel engine to operate on 100 percent triglyceride diesel fuel drawn from an

auxiliary fuel tank.

        33.     To date, ASTM Committee D02, Petroleum Products and Lubricants, has approved

for mixing with petroleum-based diesel fuel a non-petroleum blend stock, commonly known as

“biodiesel,” that meets the strictures of Standard Specification for Biodiesel Fuel Blend Stock

(B100) for Middle Distillate Fuels (D-6751). ASTM Standard Specification for Fuel Oils (D396)

and ASTM Standard Specification for Diesel Fuel Oils (D975) approve of up to a five percent

blend of biodiesel (B5) to be included in petroleum-based diesel fuel used in burners and diesel

engines, respectively.

        34.     Biodiesel starts as triglycerides (vegetable oils and animal fats), but then it

undergoes a complicated, hazardous, energy-intensive, and costly physical and chemical

transformation of the molecules, most often by a process of transesterification, to become a new

substance, biodiesel. Due to their common origins in plant matter, biodiesel offers the promise of

net greenhouse gas reductions comparable to those achieved with triglyceride diesel fuel, but

because of the high energy input and cost of its manufacture, this benefit ends up being far less

than it is with triglyceride diesel fuel.




                                                    9
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 10 of 35



       35.     Because of the five percent cap on biodiesel content in petroleum-based diesel fuel

imposed by ASTM Committee D02 in ASTM Standard Specifications D396 and D975, as

compared to the near 100 percent use of triglyceride diesel fuel possible with POP Diesel™’s

equipment, biodiesel represents only an incremental step in reducing net greenhouse gas emissions

and securing energy independence for the United States. Biodiesel is not a competitive threat to

petroleum diesel fuel in the same way that triglyceride diesel fuel is. Defendant Oil Companies

and petroleum-oriented businesses favor allowing the blending of biodiesel in small proportion

with petroleum diesel because the resulting blended fuel utilizes the existing pipelines, rail and

road transportation, and other infrastructure oriented to petroleum diesel fuel. In comparison,

triglyceride diesel fuel is handled, transported, and stored in equipment that is apart and segregated

from the infrastructure supporting petroleum. Defendant Oil Companies, corporate agricultural

interests, and the few companies that dominate the waste triglyceride collection business have

invested heavily in biodiesel facilities, in part because federal tax policy favored such investments

before 2010. Support for the five percent cap on biodiesel in ASTM Standard Specifications D396

and D975 allows Defendant Oil Companies to portray themselves as favoring renewable energy.

       36.     Without the costly federal tax incentives that expired at the end of 2009, the

manufacture of biodiesel is largely not cost-effective or economically or commercially feasible in

today’s market for diesel fuel. Many biodiesel facilities today are sitting idle.

       37.     Several years ago, ASTM’s Committee D02 on Petroleum Products and Lubricants

was asked to develop a standard for triglyceride diesel fuel for use in burners. The request

emanated from burner manufacturers seeking insurance coverage for the use of their burners with

triglyceride diesel fuel. Underwriters Laboratories, an insurance actuarial firm, would not rate




                                                   10
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 11 of 35



these burners, and some insurers therefore would not offer coverage, unless and until ASTM first

adopted a standard specification for triglyceride diesel fuel for burners.

       38.        Subcommittee E of ASTM Committee D02 covers Burner, Diesel, Non-Aviation

Gas Turbine, and Marine Fuels. Subcommittee D02.E0.01, Burner Fuels, was the logical body to

address the request for a standard specification for triglyceride diesel fuel for burners. Both

Subcommittee E and its Subcommittee D02.E0.01 refused, however, to take on this responsibility.

Upon information and belief, they refused because they are dominated by petroleum-based diesel

fuel interests, including the Defendant Oil Companies, which oppose any standard for triglyceride

diesel fuel that may lead to triglyceride diesel fuel’s supplanting petroleum-based diesel fuel. For

the same reason, other subcommittees of ASTM Committee D02 were unwilling to take on this

responsibility.

       39.        Finally, the request to develop a standard specification for triglyceride diesel fuel

for burners was referred to ASTM Committee D02’s Subcommittee P, Recycled Petroleum

Products. Subcommittee P established a Triglyceride Burner Fuel Working Group.

       40.        Many ASTM members who comprise the D.02 Committee, and particularly its

Subcommittee P (“the Subcommittee”) and the Triglyceride Burner Fuel Working Group (“the

Working Group”), are, as described above, affiliated with and representatives of petroleum

companies, including the Defendant Oil Companies, corporate agricultural interests that favor the

use of biodiesel, and biodiesel manufacturers, all of which have an interest in preserving the status

quo embodied in ASTM Standard Specifications D396 and D975 and their five percent biodiesel

blend stock cap.

       41.        The Defendant Oil Companies, either directly or indirectly, are all members of or

active participants in the D02 Committee, the Subcommittee, and the Working Group. They have




                                                     11
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 12 of 35



used their membership and participation to promote and promulgate an ASTM standard

specification for triglyceride diesel fuel for burners and/or additional so-called Fit-For-Purpose

Guides that will have the purpose and effect of facilitating the use of petroleum-based diesel fuel,

including biodiesel as approved in Standard Specifications D396 and D975, in residential,

commercial and industrial burners and compression ignition (diesel) engines, while precluding and

excluding triglyceride diesel fuel.

       42.     The Subcommittee and the Working Group have created and approved a draft

Standard Specification for Triglyceride Burner Fuel for use of triglyceride diesel fuel in larger-

sized commercial and industrial burners, numbered WK 21463 (the “Draft ASTM Triglyceride

Standard”).

       43.     Failing to abide by its regular procedures, as set forth below, and as decided at a

meeting of its Committee D02 on Petroleum Products and Lubricants on December 9, 2010 in

Jacksonville, Florida, ASTM imminently will present the Draft ASTM Triglyceride Standard to

the full membership of Committee D02 for a vote with regard to the Draft ASTM Triglyceride

Standard’s adoption and subsequent publication by ASTM. POP Diesel™ has been advised by

ASTM that the vote could occur within days.

       44.     The Draft ASTM Triglyceride Standard contains the following material

misstatements of fact, made with the purpose and effect of excluding triglyceride diesel fuel and

related products, including the triglyceride diesel fuel and related products of POP Diesel™, from

the Relevant Markets:

         a.       The Draft ASTM Triglyceride Standard and Table 1 thereof, in its reference to

                  “Detailed Requirements for Triglyceride Burner Fuels,” cites and refers to 38

                  ASTM-approved test methods for measuring the various physical or chemical




                                                  12
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 13 of 35



       properties of petroleum-based diesel fuel as applicable to triglyceride diesel fuel.

       These references are false and unsupported in fact. In breach of normal ASTM

       policy and practice, not one of these petroleum test methods has ever been

       validated as having applicability to triglyceride diesel fuel. According to normal

       ASTM practice, applying a test method for petroleum-based diesel fuel to

       triglyceride diesel fuel would require a major inter-laboratory study. Six to nine

       laboratories would have to duplicate each test for petroleum-based diesel fuel on

       triglyceride diesel fuel. Then ASTM, by its Committee D02, would have to

       evaluate the results statistically to determine if each test applied to triglyceride

       diesel fuel were equivalent or superior to the test as previously validated on

       petroleum-based diesel fuel. Only then could ASTM truthfully and correctly

       import a petroleum-based diesel fuel test method to triglyceride diesel fuel. Such

       a major inter-laboratory study has not been performed on a single one of the 38

       test methods enumerated in the Draft ASTM Triglyceride Standard for

       triglyceride diesel fuel.

b.     Section 1.2 of the Draft Standard states that “[t]he fuels specified herein are not

       intended for blending with conventional [petroleum] fuel oils for this purpose.”

       This statement is false and unsupported in fact because:

       1.     Triglyceride diesel fuel and petroleum-based diesel fuel used in burners

              are miscible, meaning that, when stored in a heated tank prior to

              combustion, they blend in a homogeneous mixture.

       2.     There is no evidence that burners cannot operate on a blend of triglyceride

              diesel fuel and petroleum-based diesel fuel.




                                         13
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 14 of 35



       3.     POP Diesel™’s burner equipment functions without mishap, harm,

              disability, increased cost, or diminished performance on any blend of

              triglyceride diesel fuel and petroleum-based diesel fuel and on any

              continually varying blend of these two different fuels. Thus, the above-

              quoted language serves to disfavor and exclude POP Diesel™’s burner

              equipment from the Relevant Markets.

       4.     The above-quoted language will further disadvantage and exclude POP

              Diesel™ from the market for diesel fuel in diesel engines, because it is

              likely that ASTM will rely on this misstatement as precedent and use the

              same or similar language when it develops a standard specification for use

              of triglyceride diesel fuel in compression ignition (diesel) engines.

c.     Section 1.2 of the Draft ASTM Triglyceride Standard also states that “[t]hey [the

       fuels specified herein] are not intended for use in burners <0.32 GJ/h (0.3 × 106

       BTU/h) such as residential burners or small pressure atomization burners nor are

       they intended for use in internal combustion engines or marine applications.”

       This statement is false and unsupported because triglyceride diesel fuel, properly

       managed, operates without mishap, harm, disability, increased overall cost, or

       diminished performance in burners with output of less than 0.32 GJ/h and diesel

       internal combustion engines.

d.     Sections 5.3.1 and 5.3.2 of the Draft ASTM Triglyceride Standard, in relevant

       part, define triglyceride burner fuel as “burner fuel comprised of commercial

       recycled and unused cooking oils, greases and rendered animal fats * * *

       intended for use in industrial burners and commercial boilers equipped with




                                        14
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 15 of 35



       devices that use steam or compressed air to atomize fuel oil of higher viscosity.”

       This description is false and unsupported because:

       1.     Waste vegetable oil feedstock for triglyceride diesel fuel is not limited

              only to “commercial” sources, but may also originate from household

              sources, as some municipalities around the country, notably the City of

              San Francisco, are now officially promoting; and

       2.     There is no reason why triglyceride diesel fuel should be restricted to use

              in “industrial burners and commercial boilers” only. This fuel functions

              just as well with residential burners and boilers.

e.     Section 5.3.2 of the Draft ASTM Triglyceride Standard, in relevant part, states

       that “[t]he extra equipment and maintenance required to handle this fuel [] may

       preclude its use in small and/or unattended installations.” This statement is false

       and unsupported in fact. POP Diesel™’s burners do not require extra equipment

       or maintenance or an attendant. This statement serves to discourage and exclude

       POP Diesel™’s products from use in the Relevant Markets.

f.     The Draft ASTM Triglyceride Standard limits to 30 the total acid number for

       triglyceride diesel fuel, as set forth in Table 1 and Sections X1.2 and X1.5.1.

       This limitation is false and unsupported in fact because, when used with POP

       Diesel™’s related equipment, triglyceride diesel fuel may have an acid number in

       excess of 30, and is safe and appropriate for use in residential, commercial, and

       industrial burners. By limiting the acid number to 30, the Draft ASTM

       Triglyceride Standard discourages and excludes POP Diesel™’s triglyceride

       diesel fuel and related equipment from the Relevant Markets.




                                        15
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 16 of 35



g.     Section X1.4.4.2 of the Draft Standard states, in pertinent part, that “[t]he

       viscosity of [triglyceride diesel fuel] can change significantly with relatively

       small temperature differences in the range of temperatures at which the burner

       operates. For this reason, burner manufacturers and triglyceride fuel users should

       consider the viscosity characteristics of the range of potential triglyceride burner

       fuels very carefully.” This cautionary statement about the viscosity of

       triglyceride diesel fuel is false and unsupported in fact because:

       1.     Higher viscosity is not a problem for POP Diesel™’s burner and diesel

              engine equipment, which pre-heats triglyceride diesel fuel to lower its

              viscosity;

       2.     POP Diesel™’s burner and diesel engine equipment eliminates

              temperature-variable viscosity of any sample of triglyceride diesel fuel by

              pre-heating it;

       3.     The language quoted above restricts and precludes the use of higher

              viscosity triglyceride diesel fuels, which POP Diesel™’s equipment

              handles without difficulty, harm, diminished performance, or other

              problem.

h.    Section X1.4.1 of the Draft ASTM Triglyceride Standard states with regards to

       the temperature at which a substance turns from solid to liquid state: “An

       increase in pour point can occur when triglyceride burner fuel is subjected to

       cyclic temperature variations that can occur in the course of storage.” This

       statement is false and unsupported in fact. Although cyclic temperature

       variations can occur in the course of storage and use of triglyceride diesel fuel, as




                                        16
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 17 of 35



                 they do in the storage and use of most fuels, such temperature variations do not

                 lead to a significant change in the pour point of triglyceride diesel fuel. The

                 inclusion of this false statement in the Draft ASTM Triglyceride Standard

                 propagates misinformation and generates misperceptions about triglyceride diesel

                 fuel, thereby causing immense damage to POP Diesel™ in the Relevant Markets.

         i.     Section 1.4 of the Draft ASTM Triglyceride Standard states: “Nothing in this

                 specification shall preclude observance of national or local regulations, which

                 can be more restrictive.” Given the unreasonable restrictions on triglyceride

                 diesel fuels set forth in subparagraphs 44(a) through (h) hereinabove and the

                 misperceptions these restrictions propagate, there is no factual basis to suggest

                 that governments may have cause to adopt even more restrictive standards.

       45.     In or about the Spring of 2010, POP Diesel™’s President and General Counsel,

Claude D. Convisser (“Convisser”), learned that the Subcommittee was considering the Draft

ASTM Triglyceride Standard.

       46.     Convisser attended the semi-annual meetings of the D02 Committee and its various

subcommittees in Kansas City, Missouri, in late June 2010, during which the Subcommittee and

the Working Group met to discuss the Draft ASTM Triglyceride Standard.

       47.     Convisser voiced objections to the Draft ASTM Triglyceride Standard at the

meetings of, first, the Working Group and, then, the Subcommittee. Convisser subsequently

provided the Working Group and Subcommittee with written objections to the Draft ASTM

Triglyceride Standard. Convisser’s oral and written objections specifically described the

misrepresentations set forth in paragraph 44, supra.




                                                  17
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 18 of 35



       48.     During Convisser’s comments about the Draft ASTM Triglyceride Standard at the

Working Group’s meeting, a representative of ExxonMobil sitting as a member of the

Subcommittee stated that ExxonMobil would vote against the Draft ASTM Triglyceride Standard

if ASTM deleted the misrepresentations in Section 1.2 restricting the uses and purposes of

triglyceride diesel fuel, to which Convisser had objected, as set forth in paragraph 44(b) supra.

       49.     As the world’s largest publicly traded international oil and gas company,

ExxonMobil has the influence and market power to ensure that ASTM adopts the Draft ASTM

Triglyceride Standard in its current form, without any of the changes proposed by POP Diesel™.

       50.     ExxonMobil, ConocoPhillips, and the other co-conspirators have an interest in

excluding POP Diesel™’s products from the Relevant Markets because they all have economic

interests connected with the successful manufacture and marketing of petroleum-based diesel fuel,

as well as biodiesel, and they wish to promote and preserve the status quo in the Relevant Markets.

       51.     In concert, the Defendant Oil Companies, the other co-conspirators, and ASTM

have promulgated the Draft ASTM Triglyceride Standard and/or the Fit-For-Purpose Guides

described hereafter, with the purpose and effect of unreasonably excluding triglyceride diesel fuel

and POP Diesel™’s products from the Relevant Markets. The Defendants intend imminently to

present the Draft ASTM Triglyceride Standard to the membership of ASTM for a vote on its

adoption. Once it is adopted and published, numerous states will incorporate it by reference into

law pursuant to existing statutes, similar to New Mexico Statutes Annotated 57-19-29(A) (1978).

       52.     Approval of the Draft ASTM Triglyceride Standard by ASTM’s Committee D02,

the Subcommittee, and the Working Group was also marked by the following irregularities and

breaches of ASTM’s own policies and procedures:




                                                  18
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 19 of 35



a     ASTM’s Regulations Governing [Its] Technical Committees (“ASTM’s

      Regulations”) state in relevant part at section 19.2.2.4: “Accurate minutes should

      be kept of all ASTM-sponsored meetings.” In fact, in breach of this regulation,

      minutes were not taken at the ASTM-sponsored meeting of the Working Group in

      Kansas City in late June 2010, during which ExxonMobil stated that it would vote

      against the Draft ASTM Triglyceride Standard if the Working Group or

      Subcommittee deleted language that had the purpose and effect of restricting and

      excluding triglyceride diesel fuels and POP Diesel™’s products from the

      Relevant Markets.

b.    The Bylaws of Committee D02 state at section 9.3.2: “Minutes shall be circulated

      within 60 days following a meeting.” Since no minutes were taken, there were no

      minutes of the Working Group meeting referenced in the preceding subparagraph

      circulated to Working Group members within 60 days following the meeting in

      late June 2010.

c.    ASTM’s Regulations state in further relevant part at section 19.2.2.4: “The

      minutes of the preceding meeting should be approved before the start of the

      following meeting.” Without prior approval by the Working Group or the

      Subcommittee at their meetings on December 8, 2010, the Chair of the

      Subcommittee attempted to append a set of alleged minutes of the Working Group

      meeting of late June 2010 to the Subcommittee report to the D.02 Committee on

      December 9, 2010 in Jacksonville. The draft of the alleged Working Group

      minutes that were ex post facto appended to the report did not make mention of

      the statement by ExxonMobil referenced above.




                                      19
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 20 of 35



d.    The agenda published for the Committee D02 meeting on December 9, 2010 in

      Jacksonville stated, as it does for every semi-annual meeting of this Committee,

      that the meeting “will continue until all business is completed.” In contravention

      of the agenda, the Committee did not vote on the Draft ASTM Triglyceride

      Standard at the December 9, 2010 meeting. This Committee, over POP

      Diesel™’s objection, voted to submit Convisser’s comments accompanying his

      negative vote on the Draft ASTM Triglyceride Standard to electronic balloting,

      rather than allow for discussion and debate at the meeting. In contrast,

      Committee D02 permitted unlimited discussion and debate on all of the other

      twenty or so ASTM Standards on the agenda. This procedural irregularity was

      extremely prejudicial to POP Diesel™, in that Convisser had previously orally

      addressed the full Committee D02 with regard to one of the Fit-For-Purpose

      Guides described hereafter and had succeeded in persuading the Committee to

      return the Guide to one of its subcommittees for further work on the basis of his

      objections. The decision to refer the Draft ASTM Triglyceride Standard to

      electronic balloting improperly and unfairly deprived POP Diesel™ of that crucial

      right and opportunity.

e.    Prior to drafting his written comments that would accompany his negative vote on

      the Draft ASTM Triglyceride Standard, in September 2010, Convisser asked

      ASTM for access to the data and reports on triglyceride diesel fuel that the

      Subcommittee and Working Group had considered in formulating the Draft

      ASTM Triglyceride Standard. No such material has ever been provided. Upon

      information and belief, there are no data or reports to support the provisions of the




                                       20
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 21 of 35



      Draft ASTM Triglyceride Standard to which Convisser has objected. In fact, the

      only report to which ASTM referred Convisser, which came from the University

      of Georgia, supported Convisser’s point that triglyceride diesel fuel and

      petroleum-based diesel fuel are miscible.

f.    During the December 8, 2010 Subcommittee meeting, Convisser repeatedly

      requested to see and know of data and reports justifying the statements in the

      Draft ASTM Triglyceride Standard to which he objected. No such data or reports

      were furnished at this meeting or thereafter.

g.    Contrary to the usual and customary ASTM practice of trying to work through

      differences prior to an actual committee meeting, the Working Group and

      Subcommittee did not contact Convisser following his submission in September

      of written comments accompanying his negative vote and prior to the December

      meetings. Instead, the Subcommittee contacted Convisser the week before and

      simply asked him to withdraw his negative comments, which Convisser declined

      to do.

h.    At the December, 2010, Subcommittee meeting on the Draft ASTM Triglyceride

      Standard in Jacksonville, Florida, the Subcommittee presented on a large display

      screen written responses to each of Convisser’s objections to the Draft Standard,

      which responses had not been previously provided to Convisser, contrary to the

      usual and customary practice of ASTM . No hard copies of the Subcommittee’s

      responses were made available at the meeting.

i.    During the December, 2010, Subcommittee meeting on the Draft ASTM

      Triglyceride Standard, members of the Subcommittee not affiliated with the




                                       21
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 22 of 35



                 Defendant Oil Companies repeatedly stated that many of Convisser’s objections

                 had substantive merit. These members of the Subcommittee refused to adopt and

                 approve any of Convisser’s proposed changes because such adoption and

                 approval would antagonize the Defendant Oil Companies.

         j.      During the December, 2010, Subcommittee meeting on the Draft ASTM

                 Triglyceride Standard, Convisser repeatedly stated that the Subcommittee’s

                 handling of Convisser’s objections to the Draft ASTM Triglyceride Standard was

                 tantamount to an unreasonable restraint on trade and in breach of ASTM’s own

                 Antitrust Policy.

       53.     At the December, 2010, meeting of Subcommittee P, two representatives of

defendant ExxonMobil were present and observing. The members of the Subcommittee, including

a number of the co-conspirators identified in paragraph 18, supra, voted 12-1, over Convisser’s

objections, to adopt the Draft ASTM Triglyceride Standard and forward it to the main Committee

D02 for approval at its meeting on the following day, December 9. In doing so, Committee D02

treated the negative comments on the Draft ASTM Triglyceride Standard, including Convisser’s,

uniquely and differently from all other negative comments submitted during the meeting by

preventing discussion and debate and submitting them for post-meeting electronic balloting.

       54.     When ASTM makes the negative comments of Convisser and other negative voters

on the Draft ASTM Triglyceride Standard available for voting by electronic ballot, ASTM

regulations provide that the ballot will remain open for 30 days. Given the denial of discussion

and debate afforded Convisser’s negative comments at the Committee D02 meeting in

Jacksonville, voters, if permitted to vote, will in all likelihood override his negative vote and

approve the Draft ASTM Triglyceride Standard.




                                                   22
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 23 of 35



       55.     In addition to the Draft ASTM Triglyceride Standard applicable to triglyceride

diesel fuel for burners, the defendants and their co-conspirators have also moved aggressively to

have ASTM unreasonably restrict future approval of triglyceride diesel fuels for diesel engines.

They have caused Committee D02 to begin the promulgation of so-called “Fit-for-Purpose”

Guides that expressly limit standards for future diesel engine fuels to petroleum-based diesel fuel

or biodiesel, as currently described in ASTM Standard Specification D975.

       56.     These Fit-for-Purpose Guides are anticipatory standards governing research and

development of future products. These Fit-for-Purpose Guides specify how a new and potentially

as yet undeveloped product must function and how it must fit with existing products and processes

in order to meet ASTM standards. Fit-for-Purpose Guides not only are uncommon in ASTM, but

also, in this context and for the reasons stated below, are detrimental to innovation and research

and development, in that Fit-for-Purpose Guides tend to limit and channel innovation towards

existing products and processes and protect existing products and processes from future

competition.

       57.     Two Fit-for-Purpose Guides for diesel fuels under development at ASTM would

modify ASTM Standard Specification for Diesel Fuel Oils (D975), ASTM’s basic standard for

diesel engine fuel.

       58.      Defendant ConocoPhillips has a key role in the development of the Fit-for-Purpose

Guides. ExxonMobil and the other co-conspirators have known of and concurred and participated

in the development of the Fit-for-Purpose Guides.

       59.     The purpose and effect of the Fit-for-Purpose Guides are to stifle innovation of new

diesel fuels, including specifically triglyceride diesel fuel, in the Relevant Markets, as follows:




                                                   23
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 24 of 35



 a.   ASTM Work Item 30622, for which ConocoPhillips is the technical contact,

       defines “hydrocarbon oil” as “a homogeneous mixture or solution with elemental

       composition primarily of carbon and hydrogen and also containing sulfur

       consistent with [D975] Table 1 requirements, elements other than carbon,

       hydrogen, sulfur, oxygen and nitrogen at total concentration less than 10 mass

       [parts per million (“ppm”)] and oxygen and nitrogen consistent with the use of

       diesel additives.” This definition will exclude triglyceride diesel fuel and any

       other diesel fuel apart from refined petroleum-based diesel fuel and biodiesel.

       1.     Triglyceride diesel fuel made from waste vegetable oil would be excluded

              from the proposed definition of “hydrocarbon oil” because triglyceride

              diesel fuel made from waste vegetable oil naturally contains more than 10

              mass ppm of oxygen, even though triglyceride diesel fuel, if cleaned and

              managed properly, does not harm a diesel engine and indeed, has

              properties that make it perform better in a diesel engine than petroleum-

              based diesel fuel or biodiesel.

       2.   Triglyceride diesel fuel would also be excluded from the proposed

            definition of “hydrocarbon oil” by allowance for the presence of higher

            levels of oxygen only “consistent with the use of use of diesel additives,”

            but not due to other causes, such as the natural occurrence of oxygen in the

            triglyceride molecule.

 b.   ASTM Work Item 5 that accompanies ASTM Work Item 30622, for which

       ConocoPhillips is also the technical contact, is entitled the “Proposed Revision of




                                        24
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 25 of 35



       D975 -- Adding an Appendix Guidance on Evaluation of New, Unusual Non-

       conventional Materials for #1D and #2D Grades of Diesel Fuels.”

       1.     Work Item 5 states that “[w]here sufficient performance data does not

              exist to validate [a new fuel’s] fitness, the manufacturer or other

              stakeholder promoting the fuel will be expected to obtain such data as

              may reasonably be needed.” This expectation or requirement prejudices

              small, independent, innovating producers like POP Diesel™, that do not

              have large research and development budgets, and favors large corporate

              producers like the Defendant Oil Companies.

       2.     Work Item 5’s placing, in essence, a burden of production and proof on

              the advocate for a new fuel is contrary to ASTM’s stated policy and

              practice of setting standards through a collegial and collective process

              involving multiple parties, and is an abdication of ASTM’s purpose and

              responsibilities in establishing standards.

 c.   ASTM Work Item 30088 is entitled “Standard Guide for Fit-for-purpose

       Considerations for Compression Ignition Distillate Fuel (Diesel Fuel),” and

       purports to “provide[] an analytic framework to aid the evaluation of new fuels

       and new fuel additives for use in compression ignition (diesel) engines.” A

       former employee of ExxonMobil is actively participating in the drafting, and a

       researcher for the petroleum industry, Steve Westbrook of the Southwest

       Research Institute, is leading the drafting of this document. The purpose and

       effect of this Work Item are to exclude triglyceride diesel fuel from the relevant

       markets in the future.




                                        25
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 26 of 35



       1.   Work Item 30088 references a long list of ASTM standards, none of

            which have been validated for triglyceride diesel fuel.

       2.   Section 5.3.1 of Work Item 30088 falsely states that “[t]his guide gives

            properties that have been found to have an effect on performance during

            use.” In fact, the “properties that have been found” are necessarily limited

            to petroleum-based diesel fuels. The intent and effect of Section 5.3.1 are

            thus to exclude any new fuel that falls outside the petroleum-based diesel

            “properties that have been found to have an effect on performance during

            use.”

       3.   Work Item 30088 purports to set forth physical and chemical properties

            for new fuels not currently in ASTM Standard Specification D975.

            Because the Work Item places these physical and chemical properties in

            an appendix to D975, rather than the definition section or properties table

            of D975, the limits on these physical and chemical properties would apply

            only to new fuels, such as triglyceride diesel fuel, and not to petroleum-

            based diesel fuel.

       4.   Section 5.1 of Work Item 30088 falsely states: “Specification D975

            adequately describes/specifies an acceptable fuel for a diesel engine,

            providing the fuel was refined from petroleum crude oil using current

            refining techniques. Fuels made from other raw materials or by other

            manufacturing processes but that also meet the requirements of D975 may

            also provide acceptable performance.” In fact, triglyceride diesel fuel,

            properly managed, “also provide[s] acceptable performance” in a diesel




                                     26
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 27 of 35



              engine, even though it may not satisfy all the requisites of D975. ASTM’s

              adoption of Work Item 30088 will unnecessarily and unreasonably restrict

              future research and development of promising diesel fuel alternatives to

              petroleum-based diesel fuel that may or may not fall squarely within the

              requirements of D975.

 d.   A biofuel is a combustible fuel that derives from biological or plant material,

       rather than fossilized carbon material. Triglyceride diesel fuel is a biofuel. The

       only biofuels used in burners and internal combustion engines for which ASTM

       has validated any test methods are biodiesel and ethanol. Ethanol is a gasoline,

       rather than diesel, fuel blend stock, for use in a spark ignition (gasoline) internal

       combustion engine. ASTM Work Item WK27610, entitled “Standard Guide to

       Elemental and Related Analysis of Oxygenated Fuels and Blendstocks Including

       Biofuels,” purports to “provide[] an analytic framework to aid the evaluation of

       new fuels and new fuel additives for use in compression ignition (diesel)

       engines.” This ASTM Standard, if adopted, will guide federal agencies, such as

       the Internal Revenue Service and the Department of Commerce, in assessing

       penalties and fines for fuel shipments that the manufacturer certifies meet this

       Standard’s criteria but in actuality, do not.

       1.     Some ASTM test methods have been validated for biodiesel and some for

              ethanol. Although it purports to apply to “biofuels” generally, ASTM

              Work Item WK27610, as is the case with ASTM Work Item 30088,

              references a long list of ASTM standards, 42 in all, that have never been

              validated for triglyceride diesel fuel. The use in ASTM Work Item




                                         27
Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 28 of 35



            WK27610 of the generic term “biofuels,” rather than the specific naming

            of only biodiesel and ethanol, implies that conclusions may be drawn

            about the validation of ASTM test methods for other biofuels, such as

            triglyceride diesel fuel, when in fact, no conclusions may be drawn unless

            and until a particular ASTM test method is specifically validated for

            triglyceride diesel fuel via a comprehensive inter-laboratory study. ASTM

            Work Item WK27610 will mislead government regulators into basing

            decisions on purported non-compliance with such ASTM standards and

            test methods, when these test methods have never been validated to be

            precise for triglyceride diesel fuel or other non-biodiesel, non-ethanol

            biofuels.

       2.   For example, Table 11 of Work Item WK27610, entitled “Precision of

            Test Methods for Determination of Sulfur,” denotes by asterisk those test

            methods where “[p]recision for biofuels is not available.” Because the

            only biofuels on which ASTM has done inter-laboratory studies and

            thereby validated any of its test methods are biodiesel and ethanol, the

            only biofuels that Table 11 can truthfully describe are biodiesel and

            ethanol. The use of the generic term “biofuels” is misleading, since it may

            be interpreted to mean that biofuels other than ethanol and biodiesel, such

            as triglyceride diesel fuel, have been validated for the ASTM test methods

            that are listed without an asterisk in Table 11, even though the ASTM test

            methods have not been validated for such fuel.




                                      28
         Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 29 of 35



         60.   Upon information and belief, the Defendant Oil Companies and their co-

conspirators may have other Fit-for-Purpose Guides in some stage of ASTM development

unknown to POP Diesel™ that have the same unlawful purpose and effect as the ones described

above.

          INJURY TO COMPETITION AND ANTICOMPETITIVE EFFECTS

         61.   Upon approval of the Draft ASTM Triglyceride Standard and/or the Fit-for-Purpose

Guides, POP Diesel™ will be irreparably harmed because it will be wrongfully excluded from the

Relevant Markets. The false statements and other objectionable provisions of the Draft ASTM

Triglyceride Standard and/or the Fit-for-Purpose Guides described hereinabove will have the

effect of misleading actual and prospective customers of POP Diesel™ and deterring and

preventing them from doing business with POP Diesel™ and other suppliers of triglyceride diesel

fuel and related equipment. POP Diesel™ is a nascent business in the early stages of

development, and the promulgation of the Draft ASTM Triglyceride Standard and/or the Fit-for-

Purpose Guides not only will cause POP Diesel™ to lose sales and profits, but also will threaten

its ability to survive as a going concern.

         62.   ASTM’s adoption of the Draft ASTM Triglyceride Standard and/or the Fit-for-

Purpose Guides will harm competition in the Relevant Markets in that POP Diesel™ and other

existing and potential suppliers of triglyceride diesel fuel will be hindered and excluded from

participation in the Relevant Markets. Because the triglyceride diesel fuel industry itself is also in

its infancy, the destructive effects of the Draft ASTM Triglyceride Standard and/or the Fit-for-

Purpose Guides will be felt by many firms in the industry, and an entire segment of new

competition faces exclusion and elimination.




                                                   29
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 30 of 35



        63.     ASTM’s adoption of the Draft ASTM Triglyceride Standard and/or the Fit-for-

Purpose Guides will harm competition in the Relevant Markets in that consumers will be harmed

because they will be deprived of the choice of triglyceride diesel fuel, a product that is less

expensive and hazardous and more environmentally friendly than petroleum-based diesel fuel.

        64.     Competition will be harmed in the Relevant Markets in that innovation in the

Relevant Markets will be curtailed and discouraged because the Draft ASTM Triglyceride

Standard and the Fit-for-Purpose Guides will impede and prevent introduction of triglyceride

diesel fuel and other new, non-petroleum-derived products.

        65.     Competition will be harmed in the Relevant Markets in that if the Draft ASTM

Triglyceride Standard and/or the Fit-for-Purpose Guides are adopted, the industry will continue to

be dominated by the Defendant Oil Companies and other major oil companies, which have an

interest in preserving a fossil fuel-based economy.

        66.     Defendants’ actions with respect to promulgation of the Draft ASTM Triglyceride

Standard and the Fit-for-Purpose Guides, as described in this Complaint, in addition to harming

competition in violation of federal and state antitrust laws, also violate Section 19.2.5 of ASTM’s

own Antitrust Policy, which provides, in pertinent part that “[n]either ASTM nor any committee,

subcommittee or task group thereof shall make any effort to bring about the standardization of any

product or service for the purpose or with the effect of (a) preventing the manufacture or sale of

any product or service not conforming to a specified standard … .”

                                     VIOLATIONS ALLEGED

                                   SHERMAN ACT, SECTION 1

        67.     Paragraphs 1 through 66 above are incorporated herein by reference as if the same

had been set forth in full.




                                                   30
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 31 of 35



       68.     The conduct of defendants described above, specifically their agreement to

promulgate the Draft ASTM Triglyceride Standard and the Fit-for-Purpose Guides, constitutes a

per se violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, in that the effect of the Draft

ASTM Triglyceride Standard and the Fit-for-Purpose Guides is a group boycott and concerted

refusal to deal by defendants directed against POP Diesel™ and other existing and potential

suppliers of triglyceride diesel fuel, by reason of which violation POP Diesel™ is threatened with

loss or damage in the form of lost sales, profits, and investment, and with the complete destruction

of its business, irreparable harm for which damages will be inadequate to compensate POP

Diesel™, by reason of which POP Diesel™ is authorized to bring suit under Section 16 of the

Clayton Antitrust Act, 15 U.S.C. § 26, to obtain preliminary and permanent injunctive relief

enjoining defendants from adopting and publishing the Draft ASTM Triglyceride Standard and the

Fit-for-Purpose Guides, and to recover its cost of suit, including a reasonable attorney’s fee.

       69.      The conduct of defendants described hereinabove, specifically their agreement to

promulgate the Draft ASTM Triglyceride Standard and the Fit-for-Purpose Guides, also

constitutes a violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, under the quick look rule of

reason, in that the Draft ASTM Triglyceride Standard and the Fit-for-Purpose Guides are naked

restraints on output with no procompetitive benefits or good faith business justifications.

       70.      The conduct of defendants described hereinabove, specifically their agreement to

promulgate the Draft ASTM Triglyceride Standard and the Fit-for-Purpose Guides, also

constitutes a violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, under the full rule of

reason, in that the Defendant Oil Companies have market power in the Relevant Markets; the

conduct of defendants and their co-conspirators creates unjustifiable barriers to entry and

innovation and restricts consumer choice in the Relevant Markets; and the agreement to




                                                   31
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 32 of 35



promulgate the Draft ASTM Triglyceride Standard and the Fit-for-Purpose Guides unreasonably

restrains trade and competition in the Relevant Markets by excluding therefrom a more efficient,

safer, and less expensive product, triglyceride diesel fuel, and its suppliers, by denying consumers

access to triglyceride diesel fuel, and by causing consumers to pay higher prices for petroleum-

based diesel fuel.

        71.     To the extent that POP Diesel™ is unable to obtain preliminary and permanent

injunctive relief against the defendants’ agreement to promulgate the Draft ASTM Triglyceride

Standard and the Fit-for-Purpose Guides, POP Diesel™ reserves the right under Section 4 of the

Clayton Act, 15 U.S.C. § 15, to seek and recover such damages as it proves itself to have sustained

and a jury shall award, trebled, together with its cost of suit, including a reasonable attorney’s fee.

                     NEW MEXICO STATUTES ANNOTATED SECTION 57-1-1

        72.     Paragraphs 1 through 71 above are incorporated herein by reference as if the same

had been set forth in full.

        73.     The conduct of defendants described above, specifically their agreement to

promulgate the Draft ASTM Triglyceride Standard and the Fit-for-Purpose Guides, also violates

New Mexico Statutes Annotated Section 57-1-1, such that POP Diesel™ is entitled to bring suit

under New Mexico Annotated Statutes Section 57-1-3, and to obtain all appropriate relief and

remedies thereunder.

   INTENTIONAL INTERFERENCE WITH PROSPECTIVE BUSINESS ADVANTAGE

        74.     Paragraphs 1 through 73 above are incorporated herein by reference as if the same

had been set forth in full.

        75.     The conduct of defendants and each of them described above, specifically their

agreement to promulgate the Draft ASTM Triglyceride Standard and the Fit-for-Purpose Guides,




                                                   32
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 33 of 35



also constitutes, in violation of the common law of the State of New Mexico, an intentional

interference, through improper means or with an improper motive, with POP Diesel™’s

prospective business advantage to sell or continue to sell triglyceride diesel fuel and related

products, which has caused threatened loss or damage, and actual loss or damage, to POP

Diesel™, by reason of which POP Diesel™ is entitled to bring suit and obtain all appropriate relief

and remedies thereunder.

                                           PRAYER FOR RELIEF

         WHEREFORE, POP Diesel™ demands the following relief from this Honorable Court:

         A.      Declaring, finding, adjudging, and decreeing that defendants’ have engaged in the

 violations of law alleged herein.

         B.      Entering a temporary restraining order prohibiting defendants from agreeing to

 promulgate, or taking any other action to promulgate or adopt, the Draft ASTM Triglyceride

 Standard and the Fit-for-Purpose Guides.

         C.      Preliminarily enjoining defendants from agreeing to promulgate, or taking any

 other action to promulgate or adopt, the Draft ASTM Triglyceride Standard and the Fit-for-

 Purpose Guides during the pendency of this action.

         D.      Permanently enjoining defendants from agreeing to promulgate, or taking any

 other action to promulgate or adopt, the Draft ASTM Triglyceride Standard and the Fit-for-

 Purpose Guides.

         E.      Awarding to POP Diesel™ such actual damages, trebled, as it proves itself to

 have sustained and the jury shall find.




                                                   33
      Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 34 of 35



       F.      Awarding to POP Diesel™ such punitive or exemplary damages as the jury shall

find to be appropriate for defendants’ interference with POP Diesel™’s prospective business

advantage.

       G.      Awarding to POP Diesel™ its cost of suit, including a reasonable attorney’s fee,

as provided by Sections 4 and 16 of the Clayton Antitrust Act, 15 U.S.C. §§ 15, 26, and New

Mexico Annotated Statutes Section 57-1-3.

       H.      Granting to POP Diesel™ such other and further relief to which it may be entitled

and which the Court finds to be just and appropriate.

Dated: March 31, 2011.

                                             THE GADDY♦ JARAMILLO LAW FIRM



                                             By:    /s/ Maria E. Touchet
                                                   David J. Jaramillo
                                                   Mia E. Touchet
                                             Gaddy ♦ Jaramillo
                                             2025 San Pedro Drive, N.E.
                                             Albuquerque, New Mexico 87110
                                             Telephone: (505) 254-9090
                                             Fax: (505) 254-9366
                                             Email: david@gaddyfirm.com
                                             Email: mia@gaddyfirm.com




                                                34
        Case 1:11-cv-00103-JB-LFG Document 63 Filed 04/01/11 Page 35 of 35



                                             GRAY, PLANT, MOOTY, MOOTY &
                                             BENNETT, P.A.



                                             By:    /s/ Julie L. Boehmke
                                                  Daniel R. Shulman (MN SBN 100651)
                                                  Julie L. Boehmke (MN SBN 317330)
                                                  Jeremy L. Johnson (MN SBN 0328558)
                                             500 IDS Center
                                             80 South Eighth Street
                                             Minneapolis, MN 55402
                                             Telephone: 612-632-3000
                                             Facsimile: 612-632-4444
                                             Email: daniel.shulman@gpmlaw.com
                                             Email: julie.boehmke@gpmlaw.com
                                             Email: jeremy.johnson@gpmlaw.com

                                             ATTORNEYS FOR PLANT OIL POWERED
                                             DIESEL FUEL SYSTEMS, INC.


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of April, 2011, I filed the foregoing Second Amended
Complaint electronically through the CM/ECF system which caused the parties to be notified as
more fully reflected on the Notice of Electronic Filing.


                                             /s/ Julie L. Boehmke
                                             Julie L. Boehmke


GP:2943366 v1




                                                35
